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                       Exhibit 1
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                Work                CR ID #      Infringing Uses
1    Better Together (a)        SR0000694565        1. https://www.youtube.com/watch?v=-mA4aXCXNw8
     Bright Tomorrow            SR0000718364        2. https://www.youtube.com/watch?v=4M6cNELD5vo
2                                                   3. https://www.youtube.com/watch?v=xDeKSKzeB6c
                                                    4. https://www.youtube.com/watch?v=K9qiO_c61nM
                                                    5. https://www.youtube.com/watch?v=nUrnqnmXj5Y
3    Cloudburst                 SR0000890994        6. https://www.youtube.com/watch?v=RRBR_mNdo7w
4    Connected Movement         SR0000890994        7. https://www.youtube.com/watch?v=p4ilzaxTSOc
5    Dollar Vinyl               SR0000698792        8. https://www.youtube.com/watch?v=NP5ZksO3vl8
                                                    9. https://www.youtube.com/watch?v=nziPuRP4fDU
6    Driving Inspiration        SR0000956718        10. https://www.youtube.com/watch?v=xxtDQOOU0wc
                                                    11. http://www.facebook.com/jnjnursing/videos/879352212614906/
                                                    12. https://www.youtube.com/watch?v=jWhT--llPD0
                                                    13. http://www.facebook.com/jnjnursing/videos/338219001297135/
                                                    14. http://www.facebook.com/jnjnursing/videos/2051322725027448/
                                                    15. http://www.facebook.com/jnjnursing/videos/314083760325823/
7    Earthflow                  SR0000671608        16. https://www.youtube.com/watch?v=LCDUI44O0bQ
8    Easy Living - 30           SR0000931220        17. https://www.youtube.com/watch?v=Gl88aOwi-gY
9    Electrokinetics            SR0000635816        18. https://www.youtube.com/watch?v=hWxx8v09768
10   Fertile                    SR0000642175        19. https://www.youtube.com/watch?v=H5JVBXRo1_M
                                                    20. https://www.youtube.com/watch?v=8mQcG-iIvyg
                                                    21. https://www.youtube.com/watch?v=BXoK3EHmoQo
                                                    22. https://www.youtube.com/watch?v=KS60Ngr5Dhw
                                                    23. https://www.youtube.com/watch?v=U9Ef0MOVLNI
                                                    24. https://www.youtube.com/watch?v=lhW6Gbbt-A4
                                                    25. https://www.youtube.com/watch?v=G-1CF1R4nEs
                                                    26. https://www.youtube.com/watch?v=EFyiBz1twMI
                                                    27. https://www.youtube.com/watch?v=rw9gopGTE7s
                                                    28. https://www.youtube.com/watch?v=HkwKqLpTGRk
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                                                      29. https://www.youtube.com/watch?v=_R64DVOa8LY
11   Groovin All Night (a)       SR0000800346         30. http://www.facebook.com/motrin/videos/582352358595966/
                                                      31. http://www.facebook.com/motrin/videos/583535805144288/
12   Healing Waters (A)          SR0000306125         32. https://www.youtube.com/watch?v=_R64DVOa8LY
13   Honey Honey (b)             SR0000807388         33. https://www.youtube.com/watch?v=8FI78RyjumI
14   Hype This Night (a) (60)    SR0000841283         34. http://www.instagram.com/p/BvUmZlfBzaQ
15   Hype This Night (b) (60)    SR0000841283         35. https://www.youtube.com/watch?v=3g6RAQpgweg
16   Inspiring Energy            SR0000878291         36. https://www.youtube.com/watch?v=nRCLFBCWxNk
17   Look Out for Something      SR0000811645         37. https://www.youtube.com/watch?v=2nm7l9_YRsg
     Good (b)
18   Passages Of Light (No       SR0000841803         38. https://www.youtube.com/watch?v=3S09Evt_iRY
     Melody Guitar)
19   Quiet Inspiration           SR0000698820         39. https://www.youtube.com/watch?v=Gl88aOwi-gY
20   Running High                SR0000956718         40. http://www.facebook.com/jnjnursing/videos/791721788381296/
                                                      41. http://www.facebook.com/jnjnursing/videos/278993373947071/
                                                      42. http://www.facebook.com/jnjnursing/videos/295428652171768/
                                                      43. http://www.facebook.com/jnjnursing/videos/397326485264608/
                                                      44. http://www.facebook.com/jnjnursing/videos/376992277489331/
                                                      45. http://www.facebook.com/jnjnursing/videos/311313317470210/
21   Stepping On Air             SR0000654010         46. http://www.facebook.com/bandaid/videos/10100558288766639/
                                                      47. https://www.youtube.com/watch?v=nKr4UDQa_LI
                                                      48. http://www.facebook.com/bandaid/videos/10100558314220629/
22   The Human Touch (a)         SR0000841443         49. https://www.youtube.com/watch?v=-vFn-eIr7Dg
                                                      50. http://www.instagram.com/p/BnFRJe6guzD
23   Things We Left Behind (a)   SR0000845305         51. https://www.youtube.com/watch?v=iDZaM0bvGGA
24   Utopia (a)                  SR0000800257         52. http://www.facebook.com/JNJVision/videos/131737462483878/
25   Warmness Guitar             SR0000963491         53. https://www.youtube.com/watch?v=Gl88aOwi-gY
                                                      54. http://www.twitter.com/JNJNursing/status/819932904981721088
26   Where Jungle Meets Sand     SR0000838813         55. https://www.youtube.com/watch?v=jtEutR3eP2w
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27   Wide Eyes                 SR0000811645          56. https://www.youtube.com/watch?v=bwQhuHq_6ZU
                                                     57. http://www.facebook.com/jnjnursing/videos/5110802778976431/
28   Wind In My Hair           SR0000864701          58. https://www.youtube.com/watch?v=lXvGH8aw4z4
                                                     59. https://www.youtube.com/watch?v=xnTZYyf1Rts
                                                     60. https://www.youtube.com/watch?v=VEdct1Z_j_4
                                                     61. https://www.youtube.com/watch?v=m53Alq6PF78
                                                     62. https://www.youtube.com/watch?v=ubzFmse8K18
                                                     63. https://www.youtube.com/watch?v=0yd0E3MmiJo
                                                     64. https://www.youtube.com/watch?v=kiUnbsHGCt8
                                                     65. https://www.youtube.com/watch?v=n-lJ6kuQucw
                                                     66. https://www.youtube.com/watch?v=hF9sQXoVN2k
                                                     67. https://www.youtube.com/watch?v=DpD949H5cS0
                                                     68. https://www.youtube.com/watch?v=4r9XpRsiBL8
                                                     69. https://www.youtube.com/watch?v=YCGE1HxNIjE
                                                     70. https://www.youtube.com/watch?v=T0O33Bl97yU
29   Work in Progress          SR0000878291          71. https://www.youtube.com/watch?v=nRCLFBCWxNk
                                                     72. https://www.youtube.com/watch?v=Ae6yZgZnmrc
                                                     73. https://www.youtube.com/watch?v=XxA-NpZUvzQ
30   Youthful Indie Energy     SR0000956718          74. http://www.facebook.com/jnjnursing/videos/801273513928265/
                                                     75. http://www.facebook.com/jnjnursing/videos/2067154236778075/
                                                     76. http://www.facebook.com/jnjnursing/videos/297193035253343/
                                                     77. http://www.facebook.com/jnjnursing/videos/1275435866185038/
                                                     78. http://www.facebook.com/jnjnursing/videos/474702780419960/
                                                     79. http://www.facebook.com/jnjnursing/videos/571015317431254/
